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3
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     twheeler@toddflaw.com
     Attorneys for Plaintiff
11

12                       UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
13

14   TERRY FABRICANT, individually     ) Case No. 2:21-cv-07294-AB-JEM
     and on behalf of all others similarly
                                       )
15
     situated,                         ) NOTICE OF SETTLEMENT
16                                     )
17
     Plaintiff,                        )
                                       )
18          vs.                        )
19                                     )
     1ST MERCHANT FUNDING LLC, )
20
     and DOES 1 through 10, inclusive, )
21   and each of them,                 )
22
                                       )
     Defendants.
23

24         NOW COMES THE PLAINTIFF by and through his attorney to
25   respectfully notify this Honorable Court that this case has settled. Plaintiff request
26   that this Honorable Court vacate all pending hearing dates and allow sixty (60)
27
     days with which to file dispositive documentation. A Joint Stipulation of
28




                                       Notice of Settlement - 1
     Case 2:21-cv-07294-AB-JEM Document 11 Filed 12/09/21 Page 2 of 3 Page ID #:38



1
     Dismissal will be forthcoming. This Court shall retain jurisdiction over this
2
     matter until fully resolved.
3
                         Respectfully submitted this 9th day of December, 2021.
4
                                          By: s/Todd M. Friedman
5                                            TODD M. FRIEDMAN
6
                                             Law Offices of Todd M. Friedman, P.C.
                                             Attorney for Plaintiff
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                                      Notice of Settlement - 2
     Case 2:21-cv-07294-AB-JEM Document 11 Filed 12/09/21 Page 3 of 3 Page ID #:39



1
     Filed electronically on this 9th day of December, 2021, with:
2
     United States District Court CM/ECF system
3

4    Notification sent electronically via the Court’s ECF system to:
5
     Honorable Andre Birotte Jr.
6    United States District Court
7    Central District of California
8
     This 9th day of December, 2021.
9

10
     s/Todd M. Friedman
     Todd M. Friedman
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                                       Notice of Settlement - 3
